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                                   STATEMENT OF FACTS

        On January 6, 2021, your Affiant, Special Agent Brown, was on duty and performing my
official duties as a Special Agent. Specifically, I am assigned to the Criminal Division at the FBI’s
Washington Field Office, tasked with investigating criminal activity in and around the Capitol
grounds. As a Special Agent, I am authorized by law or by a Government agency to engage in or
supervise the prevention, detention, investigation, or prosecution of a violation of Federal criminal
laws. The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

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                     INVESTIGATION SPECIFIC TO JOSEPH THOMAS

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

         On or around midnight on January 6, 2021 (the late evening of January 5, 2021 into the
early morning hours of January 6, 2021), an individual identifying himself as “Pi Annon” entered
Ashland, Virginia around the vicinity of North Carter Road. Pi Annon took a video of his activity
in Ashland, Virginia, convening a caravan of approximately 60 vehicles in anticipation of a
scheduled rally in D.C. later that day (“Video 1”). Later in Video 1, Pi Annon addressed the
caravan participants, stating “we all are meeting at the Ellipse to listen to Mike Lindell and
President Trump speak. After that, we’re all going to march together down to the [U.S.] Capitol
to listen to Michael Flynn and the events going on down there….See you in D.C.” Video 1 also
showed a local news channel interview Pi Annon as the “organizer” of the “Maga Caravan” going
to D.C. Pi Annon was a white male with glasses and facial hair and wore a tan jacket over a
camouflage hoodie sweatshirt and a “Veteran for Trump” camouflage baseball cap. A snip from
Video 1 is depicted below:




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       Video 1 was uploaded on or around January 8, 2021 to the YouTube channel of user
BlacklionjesterAFAM. BlacklionjesterAFAM’s “display name” was JOSEPH THOMAS
(“THOMAS”). THOMAS captioned the video as being from “jan 6th 2021.” It is believed that
the individual identifying himself as Pi Annon is THOMAS, as evidenced in the following
paragraphs.

       A second video was posted to THOMAS’s YouTube channel (“Video 2”). Video 2
apparently occurred later in time than Video 1, as Video 2 registered its location at the “Ellipse
Grounds South,” the location at which Pi Annon was to meet the caravan group. During Video 2,
THOMAS stated “right now, we got a whole [list] of people going to storm the Capitol[.]” A snip
from Video 2 is depicted below:




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       Between approximately 3:09 PM and approximately 3:20 PM, THOMAS appeared on the
bodycam footages of four separate Metropolitan Police Department (“MPD”) officers. THOMAS
stood under the risers set up for the Inauguration, eventually exiting them to ask the MPD officers
present to “let us in our house,” stating he “just wants to knock on the door.” By 3:20 PM,
THOMAS had left the vicinity of the risers.

       The Upper West Terrace is the outdoor area on the west side of the U.S. Capitol building.
On January 6, 2021, all parts of the Upper West Terrace were considered “restricted grounds” and
were not accessible to the public.

       THOMAS appeared again on MPD bodycam footage beginning at approximately 4:21 PM
on the Upper West Terrace. At around that time, THOMAS was seen going up the steps where a
number of law enforcement officers were lined up.

        At approximately 4:22 PM, a Metropolitan Police Department (“MPD”) body-worn
camera showed THOMAS on the Upper West Terrace (“Video 3”). In Video 3, THOMAS wore
the same clothing as he did when he gave an interview to the local Ashland, Virginia news channel
the night before: a tan jacket over a camouflage hoodie sweatshirt and a camouflage baseball cap.
THOMAS then advanced up to the line of law enforcement officers and pushed against their
shields with his forearm. Two snips from Video 3 are depicted below:




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        Video 3 showed that, even after law enforcement officers pushed him back, THOMAS
returned at least twice to punch or strike the officers with his fist and forearm. THOMAS continued
to attack law enforcement this way or attempt to push them back for at least 25 seconds straight,
from approximately 4:22 to 4:23 PM. A snip from Video 3 is depicted below:




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        At approximately 4:26 PM, the assembled law enforcement officers again began to dispel
the crowd of rioters from the steps. Video 3 showed that THOMAS turned toward the rioters and
ordered them to “hold the line” against the advancing officers. THOMAS audibly repeated this
order several times. Next to THOMAS was an unknown, shorter white male with a dark beard, a
black zip-up pullover, and a bright red baseball cap, a snip of which is depicted below:




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        THOMAS was then captured on body-worn camera footage descending the steps to a lower
level of the Upper West Terrace, where other law enforcement officers were lined up as well
(“Video 4”). THOMAS approached the assembled law enforcement officers at approximately
4:28 PM and hit the officers with his forearm and elbow. Video 4 showed that, after he was
repulsed, THOMAS again approached the officers, attempting to push them back. A snip from
Video 4 is depicted below:




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        Another body-worn camera captured THOMAS during this time period (“Video 5”). As
the law enforcement officers advanced, THOMAS turned to his side, using his elbow and shoulder
to strike the front line officers. Video 5 showed THOMAS push back against the officers in this
way four more times and attempt to punch with his fist once, while ordering the rioters to “hold
the line," until approximately 4:30 PM. A snip from Video 5 is depicted below:




        Subsequent interviews with law enforcement officers who were present at the Upper West
Terrace confirmed that the depicted individual did, in fact, attack them. Officers stated that this
individual “was one of the first to come in and start hitting [and] pushing officers on the line” and
“tried to kick [their] shield,” “tr[ied] to punch around [their] shield,” and “engaged other officers.”
Throughout his interactions with law enforcement on the Upper West Terrace, THOMAS
continually held a cellular phone up, apparently recording the events as they occurred.

       The FBI issued a BOLO for the depicted individual above and identified him as AFO 214.
As of April 22, 2021, the FBI has received approximately 15 tips regarding the identity of AFO

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214 after a national press release by law enforcement on February 5, 2021. Some of these tips
identified other individuals as the person depicted in AFO 214. Upon receiving the conflicting
identifications, FBI analysts and law enforcement investigators queried among other things, the
state driver’s license information, criminal history convictions, and publicly available social media
profiles of the approximately 14 individuals whose names were submitted as possibly being the
person depicted in AFO 214. In many cases a law enforcement officer directly contacted the tipster
for further information regarding the person depicted in AFO 214. After investigating the tips
regarding the identity of AFO 214, FBI determined that these tips did not predicate further
investigatory action because once the tips were compared to the known physical characteristics of
AFO 214, the characteristics of the individuals did not correspond with the characteristics of AFO
214.

        In response to the BOLO, the FBI did receive information from two tipsters that positively
identified AFO 214 as THOMAS. The first tipster, a neighbor of THOMAS’, recognized
following AFO 214 photo as THOMAS:




The neighbor confirmed THOMAS had, in fact, posted pictures and videos on THOMAS’ personal
Facebook and YouTube accounts that were similar to the scenes depicted above. THOMAS’
Facebook page, in particular, showed an undated picture of him in the same clothing as Pi Annon
and the individual depicted in body-worn camera footage, which was a tan jacket over a
camouflage hoodie sweatshirt and a camouflage baseball cap:




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        The second tipster was a member of #SeditionHunters, a Twitter-based “global community
of open-source intelligence investigators (OSINT) working together to assist the U.S. FBI and
Washington D.C. Capitol Police in finding people who allegedly committed crimes in the January
6 capitol riots.” This tipster also identified the AFO 214 as THOMAS and confirmed THOMAS’
city of residence and spouse’s name. Additionally, this tipster found THOMAS’ account names
for Gab and Telegram, social media sites popular with individuals who planned and participated
in the events of January 6. THOMAS’ Gab account was gab.com/pianon and his Telegram account
was t.me/pi_anon_chat.

        Both tipsters gave the FBI links to videos of the events on January 6th on THOMAS’
YouTube page.         The links resolved to BlacklionjesterAFAM’s YouTube channel,
BlacklionjesterAFAM being THOMAS’ YouTube user name. The links directed the FBI to the
videos THOMAS posted on January 8, 2021; namely, the video of the caravan and local news
interview and the video of THOMAS marching to the U.S. Capitol. The “About” Tab of
THOMAS’ YouTube page contained information that corroborated the tipsters’ identification of
THOMAS:




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        Within the “Videos” tab of THOMAS’ Youtube channel was a 50 minute, 15 second video
titled “March for Trump (At the Capitol)” (“Video 6”). Though Video 6 did not have timestamps,
at approximately the 36-minute mark, it began to show footage that appeared similar to Video 3
that captured THOMAS’ activities at the Upper West Terrace on January 6, 2021. Two snips from
Video 6 are depicted below:




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       At approximately the 40-minute mark, Video 6 showed an unknown white male beneath
THOMAS’ eye level with a dark beard, a black zip-up pullover, and a bright red baseball cap
among the crowd. At this point, THOMAS’ voice can be heard, shouting “hold the line” several
times as Video 6 appeared shaky and unclear. A snip from Video 6 is depicted below:




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       Video 6 later showed THOMAS at approximately the 43-minute mark, speaking into the
camera. THOMAS wore the same outfit as Pi Annon and the individual in the body-worn camera
footage: glasses, a tan jacket over a camouflage hoodie sweatshirt and a “Veteran for Trump”
camouflage baseball cap. A snip from Video 6 is depicted below:




        Based on the foregoing, your Affiant submits that there is probable cause to believe that
THOMAS violated 18 U.S.C. § 111(a), which makes it a crime to forcibly assault or interfere with
any person designated in section 1114 of this title 18 while engaged in or on account of the
performance of official duties and involved physical contact. Persons designated within section
1114 include any person assisting an officer or employee of the United States in the performance
of their official duties.

       Your Affiant submits there is probable cause to believe that THOMAS violated 18 U.S.C.
231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct, impede,
or interfere with any fireman or law enforcement officer lawfully engaged in the lawful

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performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.

        Based on the foregoing, your Affiant submits that there is probable cause to believe that
THOMAS violated 18 U.S.C. § 1752(a)(1), (2), and (4) which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do so; (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; and (4) knowingly engages in any
act of physical violence against any person or property in any restricted building or grounds;] or
attempts or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building”
includes a posted, cordoned off, or otherwise restricted area of a building or grounds where the
President or other person protected by the Secret Service, including the Vice President, is or will
be temporarily visiting; or any building or grounds so restricted in conjunction with an event
designated as a special event of national significance.

       Based on the foregoing, your Affiant submits that there is probable cause to believe that
THOMAS violated 40 U.S.C. § 5104(e)(2)(F), which makes it a crime to willfully and knowingly
engage in an act of physical violence in the Grounds or any of the Capitol Buildings.


                                                     _________________________________
                                                       SA Alexis Brown
                                                       Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 25th day of May 2021.
                  2021.05.25
                  15:50:50 -04'00'
___________________________________
ZIA M. FARUQUI
U.S. MAGISTRATE JUDGE




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